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                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION


 TRUTEK CORP.,                         Case No. 2:21-cv-10312

                  Plaintiff,           Hon. Stephen J. Murphy, III

 v.

 BLUEWILLOW BIOLOGICS, INC.,
 et. al.

                Defendants.


       PLAINTIFF TRUTEK CORPORATION’S OPPOSITION TO
      BLUEWILLOW BIOLOGICS, INC’S MOTION TO EXCLUDE
          DAMAGES-RELATED THEORIES OR EVIDENCE
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      Trutek Corporation, Inc., (“Trutek”), through counsel hereby responds in

opposition to Bluewillow Biologics’s, Inc’s. (“BlueWillow”)’s motion in limine to

exclude damages related theories or evidence.

                             I.    INTRODUCTION

      By its motion, BlueWillow seeks to exclude virtually all damages-related

theories or evidence presented by Trutek. BlueWillow’s position is disingenuous due

to BlueWillow’s delayed production of financial records demonstrating

BlueWillow’s sales figures regarding its Nanobio product. BlueWillow

mischaracterizes Trutek’s investigation of BlueWillow’s financial records as

unwillingness to present an approximate damage amount and a damages expert who

will testify as to the damages incurred by Trutek that arose out of BlueWillow’s

willful infringement of the ‘802 patent.

      The Sixth Circuit Court of Appeals discourages excluding evidence prior to

trial. “Orders in limine which exclude broad categories of evidence should rarely be

employed. A better practice is to deal with questions of admissibility of evidence as

they arise.” Sperberg v. Goodyear Tire & Rubber Co., 519 F.2d 708, 712 (6th Cir.

1975). The purpose of a motion in limine is “to narrow the issues remaining for trial

and to minimize disruptions at trial.” United States v. Brawner, 173 F.3d 966, 970

(6th Cir. 1999). In essence, BlueWillow is seeking to exclude evidence that is at the

very core of Plaintiff’s claims. BlueWillow’s motion in limine is overbroad and



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should be denied. Moreover, BlueWillow’s own actions mandate denial of the

motion in limine. Lastly, the evidence in question—BlueWillow’s sales of the

infringing product—will not require expert testimony to assist the trier of fact.

                                II.   ARGUMENT

      The damages-related theories and evidence presented by Trutek will assist the

trier of fact in determining the financial cost to Trutek of BlueWillow’s willful

infringement of the ‘802 patent. The evidence BlueWillow seeks to exclude is the

kind of evidence that District Courts have the discretion to admit and have routinely

allowed to be presented in patent infringement suits to aid the trier of fact in

understanding the evidence and determining the facts in issue. According to

BlueWillow’s Brief in support of its motion in limine, Trutek committed three errors:

(1) Trutek failed to disclose damages evidence, (2) Trutek failed to conduct

discovery on damages, and (3) Trutek failed to identify a damages expert.

BlueWillow mischaracterizes Trutek’s actions as dilatory. BlueWillow cites

Microstrategy, Inc., v. Business Objects, S.A., 429 F.3d 1344, 1356-357 (Fed. Cir.

2005) to imply that Trutek will disclose damages evidence for the first time in

response to BlueWillow’s motion in limine. This is inaccurate.

      Relevant evidence is “evidence having any tendency to make the existence of

any fact that is of consequence to the determination of the action more probable or




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less probable than it would be without the evidence.” Fed. R. Evid. 401. Relevant

evidence is admissible. Fed. R. Evid. 402.

      Under Rule 403, relevant evidence “may be excluded if its probative value is

substantially outweighed by the danger of unfair prejudice, confusion of the issues,

or misleading the jury, or by considerations of undue delay, waste of time, or

needless presentation of cumulative evidence.” Fed. R. Evid. 403. This court has

broad discretion in deciding whether to admit or exclude evidence, but such a

decision will only be reversed on appeal if there is a clear abuse of discretion.

Tompkin v. Philip Morris USA, Inc., 362 F.3d 882, 897 (6th Cir. 2004). The decision

to exclude evidence must be made with carefully circumscribed discretion and by

“balancing the probative value of the evidence against its prejudicial attributes.”

Finch v. Monumental Life Ins. Co., 820 F.2d 1426, 1432 (6th Cir. 1987).

      Excluding relevant evidence pre-trial would be “without the benefit of the

flavor of the record developed at trial.” In re Japanese Elec. Prods. Antitrust Litig.,

723 F.2d 238, 260 (3rd Cir. 1983). The court may find it nearly impossible to balance

the prejudicial effect of evidence before it is offered. The use of motions in limine

“by the trial court is purely discretionary and generally confined to very specific

evidentiary issues of an extremely prejudicial nature.” United States v. Certain Land

Situated in City of Detroit, Wayne Cnty., State of Mich., 547 F. Supp. 680, 681 (E.D.




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Mich. 1982) (citing Wright & Graham, Federal Practice & Procedure: Evidence, P

5037).

      BlueWillow in its motion in limine attempts to exclude all damages-related

theories or evidence prior to trial. “Motions in limine are not proper procedural

devices for the wholesale disposition of theories or defense.” Dunn ex rel. Albery v.

State Farm Mut. Auto. Ins. Co., 264 F.R.D. 266, 274 (E.D. Mich. 2009).

BlueWillow’s motion in limine to exclude all damages-related theories or evidence

prior to trial functions as a motion for summary judgment. In the Eastern District of

Michigan, “the denial of a motion in limine is warranted where the moving party

seeks to argue the merits of its case and preclude the non-moving party from

presenting its case.” Id. BlueWillow’s blanket assertion that Trutek has not produced

any damages figures belies BlueWillow’s delayed production of its financial records

until after the close of discovery. Motions in limine typically deal with discrete

evidentiary issues related to trial, not wholesale exclusion of relevant evidence.

BlueWillow attempts to forestall Trutek from seeking any economic damages

whatsoever.

      First, counsel for Trutek and BlueWillow met and conferred on September 22,

2022, regarding Trutek’s amended complaint and BlueWillow’s motion in limine.

BlueWillow should have asserted its motion in limine on the day fact discovery

ended. BlueWillow has waived this argument. Second, the damages-related theories



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relied on by Trutek are set forth by statute, and therefore cannot be excluded prior

to trial. Third, Trutek’s counsel did not receive BlueWillow’s financial records until

after fact discovery was concluded. BlueWillow’s delay in producing financial

records related to its Nanobio product was an explicit attempt to have the sales

figures excluded prior to trial. However, BlueWillow did not produce these financial

records until after the close of fact discovery, and Trutek should have the opportunity

to present these financial records to the trier of fact and the jurors.

      The method of calculating Trutek’s damages is provided by statute. 35 U.S.C.

§ 284. (“Upon finding for the claimant the court shall award the claimant damages

adequate to compensate for the infringement, but in no event less than a reasonable

royalty for the use made of the invention by the infringer.”) BlueWillow’s financial

records enabled Trutek to take initial steps toward calculating an approximate

damages figure. BlueWillow’s motion in limine to exclude all damages-related

theories or evidence is overbroad, contradictory, and mischaracterizes Trutek’s good

faith efforts to calculate the damages amount arising from BlueWillow’s willful

infringement of the ‘802 patent. Trutek should not have damages-related theories

and evidence excluded due to BlueWillow’s unjustified delay in producing financial

records related to the Nanobio product.

      BlueWillow relies on Fed. R. Civ. P. 26(a)(1)(c) and Fed. R. Civ. P. 37(c)(1)

in making its argument that the court should exclude all of Trutek’s damages-related



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theories or evidence. “If a party fails to provide information or identify a witness as

required by Rule 26(a) or (e), the party is not allowed to use that information or

witness to supply evidence on a motion, at a hearing, or at a trial, unless the failure

was substantially justified or is harmless.” Fed. R. Civ. P. 37(c)(1).

      Sanctions for failing to timely disclose information pursuant to Fed. R. Civ.

P. 37(c)(1) do not apply when no party suffers harm. BlueWillow knew from the

inception of the present action that Trutek attempted calculate an accurate damages

amount related to BlueWillow’s willful infringement of the ‘802 patent and its sales

of the Nanobio product. When a party requests the severest sanction of preclusion

of evidence it is appropriate and proper for a court to closely examine that party’s

own discovery behavior in the case. See, 10 Fed. Proc., L. Ed. § 26:52, (“…good

faith…or its absence, is…a relevant factor to be weighed by the trial court in

choosing a sanction.”) BlueWillow delayed producing the requisite financial records

until after the close of discovery. Trutek asserts that BlueWillow’s failure to produce

financial records before the close of discovery offsets any argument made by

BlueWillow that the inclusion of damages-related theories or evidence will prejudice

or harm BlueWillow.

      Moreover, Fed. R. Civ. P. 54(c) provides that “every other final judgment

should grant the relief to which each party is entitled, even if the party has not

demanded that relief in its pleadings. Trutek is entitled to a reasonable royalty based



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 on Bluewillow’s willful infringement of the ‘802 patent. BlueWillow’s motion in

 limine should be denied because excluding Trutek’s damages-related theories or

 evidence would provide BlueWillow with the right to mandate what evidence is

 excluded prior to trial simply by refusing to produce relevant evidence until after the

 close of discovery. Here, BlueWillow attempts to simultaneously rule and litigate

 while manipulating the procedures the court relies upon for the fair and impartial

 administration of justice. BlueWillow should have produced the financial records

 according to Fed. R. Civ. P. 26(a) because they support the Defendants’ claims or

 defenses.

       BlueWillow does not deny that it sold the Nanobio product. If it should be

 determined that the Nanobio product infringes on the ‘802 patent, Trutek is entitled

 to damages. These damages are facts which can be ascertained. The magnitude of

 the sales of Nanobio product are facts that do not require expert testimony. As such,

 these facts can be elicited from direct witness testimony during the trial. Therefore,

 BlueWillow’s motion in limine must be denied because it is simply trying to exclude

 relevant factual information. BlueWillow first produced financial records at the

 mediation, and the mediation occurred after the close of discovery.

       The question of infringement requires expert testimony. The magnitude of the

 sales of Nanobio product do not. Trutek will be putting expert testimony on

 infringement. BlueWillow does not deny selling the Nanobio product. If the Nanobio



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 product infringes on Trutek’s patents, damages exist. These damages are

 calculations subject to statutory authority. As the damages are a statutory

 construction, no expert damage testimony is required.

                               III.   CONCLUSION

       BlueWillow contends that its motion in limine is the correct procedural means

 to preclude Trutek from seeking economic damages at trial. The Sixth Circuit has

 stated that “orders in limine which exclude broad categories of evidence should

 rarely be employed. A better practice is to deal with questions of admissibility of

 evidence as they arise.” Sperberg v. Goodyear Tire & Rubber Co., 519 F.2d 708,

 712 (6th Cir. 1975). BlueWillow’s motion in limine is an attempt to prevent Trutek

 from presenting its case. Therefore, the court should deny BlueWillow’s motion in

 limine to exclude all damages-related theories or evidence.



 Dated: October 25, 2022               Respectfully submitted,

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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


    TRUTEK CORP.,                          Case No. 2:21-cv-10312

                        Plaintiff,         Hon. Stephen J. Murphy, III

    v.

 BLUEWILLOW BIOLOGICS,
 INC., et. al.

                   Defendants.



                         CERTIFICATE OF SERVICE


         I certify that on October 25, 2022, I served the foregoing Plaintiff’s Trutek

 Corporation’s Opposition to Bluewillow Biologics, Inc’s Motion to Exclude

 Damages-Related Theories or Evidence upon all parties herein by filing copies of

 same using the ECF System.




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